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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
v.                                          :
                                            :         Case No: 21-CR-00245 (APM)
                                            :
SHANE JENKINS,                              :
                                            :
                                            :
                      Defendant.            :


                                           ORDER

       Upon consideration of the United States’ Motion for Early Return of Trial Subpoenas

Pursuant to Federal Rule of Criminal Procedure 17(c), it is hereby ORDERED:

       1. That   GETTR     USA,    Inc,    (Gettr),    GiveSendGo,   LLC   (GiveSendGo.com),

          GoDaddy.com, LLC (GoDaddy.com), Parler, LLC (Parler.com), Rumble, Inc.

          (Rumble.com), Telegram Messenger, Inc. (Telegram), T Media Tech LLC

          (TruthSocial.com), Twitter, Inc (Twitter), and Vimeo, LLC (Vimeo.com), be required

          to comply with Trial Subpoena(s) No. TR2023022399727 (GETTR USA, Inc.),

          TR2023022499759 (GiveSendGo, LLC), TR2023022399731 (GoDaddy.com, LLC),

          TR2023022399733       (Parler,     LLC),      TR2023022499754     (Rumble,   Inc.),

          TR2023022399735 (Telegram Messenger, Inc.), TR2023022399736 (T Media Tech

          LLC), TR2023022399738 (Twitter, Inc.), and TR2023022399740 (Vimeo.com, Inc.),

          by producing records as described in the Attachments to those subpoenas, a redacted

          copy of which were appended to the government’s motion;

       2. That   GETTR     USA,    Inc,    (Gettr),    GiveSendGo,   LLC   (GiveSendGo.com),

          GoDaddy.com, LLC (GoDaddy.com), Parler, LLC (Parler.com), Rumble, Inc.
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          (Rumble.com), Telegram Messenger, Inc. (Telegram), T Media Tech LLC

          (TruthSocial.com), Twitter, Inc (Twitter), and Vimeo, LLC (Vimeo.com), in lieu of

          appearing in court with the requested records, may provide them directly to the U.S.

          Attorney’s Office for the District of Columbia before March 10, 2023, at 3:00 p.m.;

       3. That the United States shall produce any subpoena results received promptly to the

          defendant through the discovery process; and

       4. That the United States may grant either of the entities subpoenaed any requested

          necessary extensions of time to comply with the subpoenas.




                                                                  2023.02.28
So ordered.
                                                                  17:16:14
Date: _______________________
                                                                  -05'00'
                                       AMIT P. MEHTA
                                       UNITED STATES DISTRICT JUDGE




                                              2
